            Case 1:24-cr-00075-TNM Document 3 Filed 02/12/24 Page 1 of 3




                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                       STANDING ORDER FOR MISDEMEANOR CASES
                          BEFORE JUDGE TREVOR N. McFADDEN

        In order to administer this misdemeanor case in a fair and efficient manner, it is hereby

        ORDERED that the parties are directed to comply with each of the directives set forth in
this Order. The Court will hold the parties responsible for following these directives; failure to
conform to this Order’s directives may, when appropriate, result in the imposition of
sanctions.

1.      Local Rules

        Parties are expected to comply with the Local Criminal Rules of this Court (“LCrR”).
        The Rules are available online at http://www.dcd.uscourts.gov/court-info/local-rules-and-
        orders/local-rules.

2.      Initial Status Conference

        The Government is required to provide all “defendant-specific” discovery information to
        the Defense by the Initial Status Conference or within one week of the Defense request
        for reciprocal discovery under Fed. R. Crim. P. 16(b)(1), whichever is later. Regardless
        of any Defense request, the deadline for disclosure of any information covered by LCrR
        5.1 is the Initial Status Conference. 1 Failure to strictly follow these timelines may result
        in sanctions, including likely Dismissal for Failure to Prosecute. The Government is also
        expected to provide any plea offer that it intends to make no later than the Initial Status
        Conference.

3.      Second Status Conference/Change of Plea Hearing

        The Court will typically schedule a second status conference approximately 60 days after
        the Initial Status Conference. If the parties wish to convert this conference to a Change
        of Plea Hearing, they should contact chambers and provide signed originals of the plea
        paperwork no later than two business days before the Status Conference.

        The Court gives substantial credit to Defendants who make a timely manifestation of
        their acceptance of responsibility. Cf. U.S.S.G. § 3E1.1. “Timely,” for purposes of




1
 Should the Government believe that any defendant-specific discovery or Rule 5.1 discovery can only be disclosed
pursuant to a Protective Order, the Government should attempt to obtain agreement from the Defendant for the entry
of a consent Protective Order before the Initial Status Conference. If the Defendant has not agreed to a Protective
Order, the Government may seek entry of a Protective Order at the Initial Status Conference. If the Government has
not obtained consent or sought Court authorization for a Protective Order by the Initial Status Conference, the lack
of a Protective Order will not excuse the Government’s compliance with the above timelines.


                                                         1
        Case 1:24-cr-00075-TNM Document 3 Filed 02/12/24 Page 2 of 3




     misdemeanor cases, will typically mean that the Defendant pleads guilty no later than the
     date of the Second Status Conference.

     If the parties have not reached a plea agreement by the time of this Status Conference, the
     Court will set a trial date, based on the Speedy Trial Act, the Court’s schedule, and
     defense counsel’s availability. The Court expects the Government will substitute counsel
     if the assigned prosecutor is not available for the misdemeanor trial date.

     Except in unusual circumstances, the Court will not toll the Speedy Trial Act after the
     second Status Conference to allow for plea negotiations or production of discovery.

     To facilitate scheduling and to avoid over-summoning jurors, the Defense is requested to
     inform the Court at the Second Status Conference if the Defendant wishes to waive a jury
     at trial. This is purely for scheduling purposes—the decision whether to waive a jury is
     completely up to the Defendant.

4.   Pre-Trial Motions

     Unless the Court orders otherwise, all pre-trial motions (including but not limited to
     motions to suppress, dismiss, for change of venue, and in-limine) are due six weeks
     before the trial date. All oppositions are due three weeks before the trial date. Any
     replies are due two weeks before the trial date.

     For jury trials, the parties must jointly file proposed voir dire questions and proposed
     final jury instructions two weeks before the trial date. To the extent that the parties do
     not agree on specific final jury instructions, they should provide alternative versions of
     the proposed instructions along with a brief justification for each side’s position.

     Parties are expected to scrupulously follow the timeline above. Any motion filed before
     the dates set forth above must explicitly explain why it must be filed early or it will be
     summarily denied. Any party seeking to late-file a motion must explain what
     extraordinary circumstance caused the delay.

     For bench trials, the Government shall file, and Defense may file, a short trial brief no
     later than two business days before the trial. The trial briefs should include, inter alia, the
     names and titles of anticipated witnesses, a short summary of the expected evidence
     offered through each witness, and the expected duration of direct examination of each
     witness.

5.   Pre-Trial Conference/Motion Hearing

     For bench trials, the Pre-Trial Conference/Motion Hearing will occur on the morning of
     trial. The Court will schedule a Pre-Trial Conference/Motion Hearing beforehand in jury
     trials, although the conference may be cancelled if the Court can resolve the matters
     without a hearing.




                                                2
       Case 1:24-cr-00075-TNM Document 3 Filed 02/12/24 Page 3 of 3




6.   Trial

     In misdemeanor cases, the Court scrupulously enforces Fed. R. Evid 403’s exclusion of
     evidence that is needlessly cumulative, unduly delays trial, and/or wastes time. The
     Court may terminate an attorney’s examination of a witness if the attorney asks questions
     that violate this Rule.

     Misdemeanor jury trials typically last no longer than two days. Misdemeanor bench trials
     typically last no longer than one day. The Court does not permit the attorneys to present
     opening statements in misdemeanor bench trials. They may file a short trial brief in lieu
     of an opening statement.

7.   Sentencing

     The Court will typically proceed immediately to sentencing after a guilty plea or guilty
     verdict that solely involve Class B or C misdemeanors or infractions. Cf. U.S.S.G. §
     1B1.2(a) (Guidelines do not apply to these offenses). No Pre-Sentence Investigation will
     be ordered. For Class A Misdemeanors, the Court will set a subsequent sentencing
     hearing date to allow for the completion of a PSI. The Court will, however, entertain
     requests to proceed immediately to sentencing on Class A Misdemeanors without a PSI.
     See U.S.S.G. § 6A1.1.

8.   Appearances at Hearings

     The Defendant must be present for all hearings unless the Court has pre-authorized a
     waiver of the Defendant’s presence. For virtual hearings, the Defendant and all attorneys
     must be seated, appropriately dressed, and in a quiet room. All participants should ensure
     they have good cellular reception and connectivity prior to the hearing. Failure to follow
     these guidelines may result in the requirement that all future hearings occur in person.

     SO ORDERED.


                                                                 /s/
                                                  TREVOR N. McFADDEN
                                                  United States District Judge




                                             3
